 Case: 1:17-md-02804-DAP Doc #: 5838 Filed: 12/31/24 1 of 10. PageID #: 659586




                              UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION OPIATE                    Case No.: 17-MD-2804
LITIGATION
                                                      Judge: Dan Aaron Polster
This document relates to:

City of Rochester v. Purdue Pharma, L.P., No.
19-op-45853 (Track 12)


    PBM DEFENDANTS’ MOTION FOR STAY PENDING MANDAMUS PETITION

       Defendants Express Scripts, Inc., ESI Mail Pharmacy Services, Inc., and OptumRx, Inc.

and its affiliates1 (“Defendants”) respectfully request that the Court stay its orders compelling the

disclosure of (1) Express Scripts internal-investigation and audit documents containing legal

advice on compliance with federal and state law (Dkt. No. 5832) (the “Privilege Order”) and (2)

documents from all Track 12 deponents’ personnel files (Dkt. No. 5833) (the “Personnel Files

Order”), 2 pending resolution of Defendants’ forthcoming mandamus petition. Given the

significant legal issues implicated by the orders and the sensitivity of the subject information,

Defendants intend to seek a writ of mandamus vacating those orders in the next several days. As


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           In accordance with a stipulation between the parties (Dkt. No. 5364), Defendants
OptumInsight, Inc. and OptumInsight Life Sciences, Inc., as well as Non-Parties UnitedHealth
Group Incorporated, Optum, Inc., OptumInsight, Inc., OptumInsight Life Sciences, Inc., OptumRx
Discount Card Services, LLC, Optum Perks, LLC, OptumHealth Care Solutions, LLC,
OptumHealth Holdings, LLC, and Optum Health Networks, Inc. are participating in discovery
without waiving any jurisdictional defenses. All of those entities join OptumRx, Inc. in bringing
this motion.
       2
           Specifically, the Court affirmed Special Master Cohen’s ruling that the parties are
required to produce the deponent’s CV, a list of each position held by the witness (including title,
dates of employment, job description, position qualification, education, licenses, prior work
experience, salary, bonuses, professional memberships, and an employee manual covering the
employee’s group or practice area), and all performance reviews, including formal reviews,
commendations or awards, training certificates, disciplinary records, employee contracts, and
separation agreements.
 Case: 1:17-md-02804-DAP Doc #: 5838 Filed: 12/31/24 2 of 10. PageID #: 659587




detailed below, a stay pending resolution of that petition is warranted because (1) Defendants are

likely to succeed on the merits of their petition; (2) they will be irreparably injured absent a stay;

(3) Plaintiff will not be injured by a stay; and (4) the public interest favors a stay. Nken v. Holder,

556 U.S. 418, 433–34 (2009).

       Defendants respectfully request that the Court expedite its ruling on this motion and issue

a decision by January 3, 2025, since the affected documents will otherwise need to be produced

starting on January 7, 2025. At a minimum, Defendants respectfully request that the Court

temporarily stay the contested orders until the Sixth Circuit has an opportunity to consider a motion

for stay under Federal Rule of Appellate Procedure 8.

I.     ALL FOUR NKEN FACTORS WARRANT A STAY PENDING DEFENDANTS’
       PETITION FOR WRIT OF MANDAMUS

       To determine whether to stay an order pending appellate review, courts consider: (1)

whether the stay applicant has made a strong showing that it is likely to succeed on the merits; (2)

whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

will substantially injure the other parties interested in the proceeding; and (4) where the public

interest lies. Nken, 556 U.S. at 434. “These factors are balanced; when a greater showing of

irreparable harm in the absence of a stay is made, a lesser showing of the likelihood of success on

the merits is necessary to support a stay.” Nwakanma v. Ashcroft, 352 F.3d 325, 327–28 (6th Cir.

2003); see also Sierra Club v. Tenn. Dep’t of Env’t & Conservation, 2024 WL 4472048, at *3 (6th

Cir. Oct. 11, 2024) (same). All four factors favor staying the Privilege Order and the Personnel

Files Order until the Sixth Circuit has considered the forthcoming petition for writ of mandamus.

       A.      Defendants Are Likely To Succeed On The Merits Of Their Forthcoming
               Mandamus Petition.

        For a stay to issue, Defendants must “show, at a minimum, serious questions going to the

merits.” Mich. Coal. of Radioactive Material Users, Inc. v. Griepentrog, 945 F.2d 150, 154 (6th


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 Case: 1:17-md-02804-DAP Doc #: 5838 Filed: 12/31/24 3 of 10. PageID #: 659588




Cir. 1991) (citation omitted). That factor is satisfied here because Defendants have shown—at the

very least—serious questions going to the merits of this Court’s orders regarding the scope of

attorney-client privilege and the production of deponent personnel files.

               1.      Express Scripts’ Challenge To The Privilege Order Is Likely To Succeed.

       Express Scripts is likely to prevail on the merits. This Court’s Privilege Order is

inconsistent with Upjohn Co. v. United States, which held that attorney-client communications

occurring during a corporate internal investigation “concerning compliance with securities and tax

laws, foreign laws, currency regulations, duties to shareholders, and potential litigation in each of

these areas” were privileged. 449 U.S. 383, 392, 394 (1981). The D.C. Circuit applied Upjohn to

attorney-client communications indistinguishable from those here, recognizing that they may have

both legal and business purposes but holding that they were privileged in light of the significant

legal purposes. In re Kellogg Brown & Root, Inc., 756 F.3d 754, 759–60 (D.C. Cir. 2014).

Although this Court rejected the D.C. Circuit’s reasoning, Dkt. No. 5053 at 7, multiple district

courts in this Circuit have followed it and held that the attorney-client privilege protects advice

from counsel regarding regulatory compliance. Myers v. City of Centerville, 2023 WL 195427, at

*4 (S.D. Ohio Jan. 17, 2023) (“It is well-established that ‘the attorney-client privilege protects

confidential employee communications made during a business’s internal investigation led by

company lawyers.’”) (quoting Kellogg, 756 F.3d at 756); Lee v. EUSA Pharma US LLC, 2024 WL

250064, at *4 (E.D. Mich. Jan. 23, 2024) (applying Kellogg to find privilege applied to internal

investigation); Edwards v. Scripps Media, Inc., 2019 WL 2448654, at *1–2 (E.D. Mich. June 10,

2019) (same). This Court’s Privilege Order thus presents an intra-circuit split among Sixth Circuit

district courts that—at the very least—raises serious questions about the merits of the Order.




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 Case: 1:17-md-02804-DAP Doc #: 5838 Filed: 12/31/24 4 of 10. PageID #: 659589




       Although the presence of that serious question alone suffices to support a stay under Nken,

Antonio v. Garland, 38 F.4th 524, 527 (6th Cir. 2022), there is also a strong prospect that the Sixth

Circuit will agree with the D.C. Circuit and the other district courts in the Circuit on this issue.

The Sixth Circuit has not yet had the opportunity to address Kellogg, but it adopted the

“predominant purpose” test from In re County of Erie, which held that “[w]hen a lawyer has been

asked to assess compliance with a legal obligation, the lawyer’s recommendation of a policy that

complies (or better complies) with the legal obligation—or that advocates and promotes

compliance, or oversees implementation of compliance measures—is legal advice.” 473 F.3d 413,

423 (2d Cir. 2007); see also Cooey v. Strickland, 269 F.R.D. 643, 650 (S.D. Ohio 2010) (same).

That reasoning is inconsistent with this Court’s reasoning that legal advice provided primarily to

guide compliance with legal obligations is not privileged. Express Scripts therefore has a

likelihood of success sufficient to warrant a stay of the Privilege Order.

               2.      Defendants’ Challenge To The Personnel Files Order Is Likely To Succeed.

       The Personnel Files Order also raises serious legal questions about (1) whether a Court can

compel production of nonparty witness personnel files absent a formal discovery request for those

documents; (2) what standard governs requests for nonparty personnel files in the Sixth Circuit;

and (3) whether a party seeking personnel files of a nonparty must establish relevance for each

individual whose files are requested or whether a blanket order requiring production of personnel

files for every deponent in a case (before the deponents are even determined) is ever appropriate.

       The Sixth Circuit and district courts within the Circuit have held that courts cannot compel

the production of documents unless the documents are first sought through a formal Rule 34

request. McDermott v. Cont’l Airlines, Inc., 339 F. App’x 552, 560 (6th Cir. 2009) (holding that a

party may move to compel the production of documents “only if [the opposing party] failed to

produce documents ‘requested under Rule 34’”) (quoting Fed. R. Civ. P. 37(a)(3)(B)(iv)); Ward

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 Case: 1:17-md-02804-DAP Doc #: 5838 Filed: 12/31/24 5 of 10. PageID #: 659590




v. Am. Pizza Co., 279 F.R.D. 451, 454 (S.D. Ohio 2012) (“Before moving the Court for an order

directing [defendant] to produce any discovery, [plaintiff] must first serve [defendant] with a

request for discovery.”); Nilavar v. Mercy Health Sys. W. Ohio, 210 F.R.D. 597, 610 (S.D. Ohio

2002) (similar). There is no dispute that Plaintiffs never served a Rule 34 request for deponent

personnel files. The Court nevertheless excused that failing on the grounds that it “could” allow

Plaintiffs to serve a request. Personnel Files Order at 2. But even now, no request for personnel

files has been served. The Sixth Circuit is likely to hold the Personnel Files Order violates the

processes established by the Federal Rules.

       The Sixth Circuit is also likely to hold that Plaintiffs failed to meet their burden of

establishing the relevance of personnel files for every deponent in this case, including deponents

not yet identified. In briefing, the parties disagreed about the standard governing requests for

nonparty personnel files, with the PBM Defendants arguing the personnel files of non-parties

“should not be ordered produced except upon a compelling showing of relevance” by the

requesting party. Johnson v. Guardsmark LLC, 2008 WL 11380093, at *2 (N.D. Ohio Jan. 14,

2008) (emphasis added) (quoting Miller v. Fed. Express Corp., 186 F.R.D. 376, 384 (W.D. Tenn.

1999)). The Court applied a lesser standard, finding that personnel files “for all deponents are

relevant” because it will expedite the questioning at depositions and help determine witness bias.

Personnel Files Order at 2. That holding conflicts with the standard applied by other courts within

the Sixth Circuit, as well as decisions by other MDL courts holding that a request for personnel

files requires “an individualized showing of relevancy, proportionality, and particularity,” and that

a “broadly sketched” theory of relevance and “the ever-present search for evidence of witness

bias” are insufficient to compel disclosure of complete personnel files for all deponents across the

board. In re: Xarelto Prods. Liab. Litig., 313 F.R.D. 32, 36–38 (E.D. La. 2016); see also In re:




                                                 5
 Case: 1:17-md-02804-DAP Doc #: 5838 Filed: 12/31/24 6 of 10. PageID #: 659591




Zoloft Prods. Liab. Litig., 12-md-02342, slip op. at 2, Dkt. No. 1148 (E.D. Pa. Feb. 18, 2015)

(denying motion to compel personnel files because plaintiff failed to make an “individualized

review of the circumstances related to the particular employees or ex-employees and of the issues

to which the facts of their employment relate”).

       B.      Defendants Will Be Irreparably Harmed By Forced Disclosure Of Privileged
               And Private Documents.

       Defendants will be irreparably harmed by the disclosure of the privileged and confidential

documents at issue. The Sixth Circuit “has noted . . . the inherent harmfulness resulting from the

discovery of privileged communications” and has stayed discovery orders pending mandamus

review on just that basis. In re Lott, 139 F. App’x 658, 662 (6th Cir. 2005) (granting immediate

stay of discovery pending further consideration of a mandamus petition); see also In re Perrigo

Co., 128 F.3d 430, 437 (6th Cir. 1997) (“We find, as have several courts, that forced disclosure of

privileged material may bring about irreparable harm.”). Because the attorney-client privilege

“operates to prevent the disclosure itself,” a “[m]andatory disclosure of the communications”

causes “the exact harm the privilege is meant to guard against.” In re Lott, 424 F.3d 446, 451 (6th

Cir. 2005). And adequate relief after the disclosure is not possible; “[t]he damage to the attorney-

client relationship will have already been done by the disclosure itself,” id., because there “is no

way to unscramble the egg scrambled by the disclosure,” Lott, 139 F. App’x at 662 (citation

omitted).

       The inherent injury posed by forced disclosure of privileged materials, moreover, is not

limited to the 14 documents referenced in the Privilege Order. Spurred by this Court’s order, the

PEC transmitted a letter to Express Scripts on December 30, 2024, demanding that Express Scripts

“self-downgrad[e] hundreds if not thousands of” privileged documents and produce those

documents by January 7, 2025. Letter from Anthony D. Irpino to Express Scripts (Dec. 30, 2024)



                                                   6
 Case: 1:17-md-02804-DAP Doc #: 5838 Filed: 12/31/24 7 of 10. PageID #: 659592




(attached as Exhibit A). Although Express Scripts disputes the assertions in that letter, the PEC’s

increasing demands illustrate the breadth of the Privilege Order and the propriety of a brief stay

pending review of the mandamus petition.

       Defendants, and their current and former employees noticed for deposition, will also be

irreparably harmed by the disclosure of sensitive documents from deponent personnel files before

the Sixth Circuit has considered the forthcoming petition for writ of mandamus. The Sixth Circuit

has recognized that “defendants ha[ve] a valid interest in the privacy of nonparty personnel files.”

Knoll v. AT&T, 176 F.3d 359, 365 (6th Cir. 1999). Like with the disclosure of privilege materials,

the infringement of that privacy interest will occur as soon as the personnel files are disclosed,

particularly in a case like this one where hundreds of attorneys have access to the MDL repository

and the ability to review documents even with the highest confidentiality designations.

       C.      Plaintiff Will Not Suffer Injury From A Stay.

       Plaintiff will not suffer injury if the Court stays the discovery orders at issue. As to the

Privilege Order, Plaintiff has largely failed to explain why or how the disputed documents will

support its claims. Dkt. 5508 at 17–18. In fact, Plaintiff has admitted that “it is hard to imagine

that the fourteen documents the Special Master ordered produced will lengthen the proceedings

(summary judgment or trial) in any material manner in this complex case.” Dkt. No. 5808 at 17.

And Plaintiff concedes that it is entirely speculative at this point whether they will even rely on

the disputed documents. Id. at 18. Accordingly, Plaintiff will not suffer any injury if this Court

issues a stay. In contrast, the harm to the attorney-client privilege is immediate and concrete. Lott,

424 F.3d at 451.

       Plaintiff will also not suffer prejudice if the Court stays the Personnel Files Order pending

the Sixth Circuit’s review. As the Special Master observed, the witnesses currently scheduled for

deposition are not individuals who were compensated based on any opioid-related work. On the

                                                  7
 Case: 1:17-md-02804-DAP Doc #: 5838 Filed: 12/31/24 8 of 10. PageID #: 659593




contrary, this Court held that producing personnel files would simply streamline the deposition by

helping Plaintiffs “focus their questions” and avoid “wasting time on irrelevant probing questions.”

Personnel Files Order at 2. The only consequence of staying enforcement of the Personnel Files

Order is that Plaintiffs would simply have to ask the sorts of questions that plaintiffs routinely ask

in depositions when the examiner does not have the deponent’s personnel file.

        D.      The Public Interest Warrants A Stay.

        The public interest in protecting the attorney-client privilege and the confidentiality of

private personnel records also warrants a stay. “It is not hyperbole to suggest that the attorney-

client privilege is a necessary foundation for the adversarial system of justice.” Lott, 424 F.3d at

450. “[T]he scope of the attorney-client privilege is a matter that is inherently linked to the ‘public

end’ of adequate legal representation.” Lott, 139 F. App’x at 662. In light of the public interests

involved, the Sixth Circuit has granted the extraordinary relief of mandamus to clarify the scope

of the privilege: “An uncertain privilege—or one which purports to be certain, but rests in widely

varying applications by the courts—is little better than no privilege.” Lott, 424 F.3d at 450 (citation

omitted). As discussed, supra, the Court’s privilege ruling identified an area of uncertainty in the

law, Dkt. No. 5053 at 7, and it perpetuates an intra-circuit split among Sixth Circuit district courts.

See, e.g., Edwards, 2019 WL 2448654, at *1; Myers, 2023 WL 195427, at *4; Lee, 2024 WL

250064, at *4. In light of the public interest in a clear and predictable attorney-client privilege, the

Sixth Circuit will want an opportunity to “[a]ddress[] these issues now . . . to provide district courts

with guidance on such matters in the future.” John B. v. Goetz, 531 F.3d 448, 461 (6th Cir. 2008)

(granting mandamus). The public interest therefore warrants a stay of the Privilege Order.

        As already noted, the Sixth Circuit recognizes that “defendants ha[ve] a valid interest in

the privacy of nonparty personnel files.” Knoll, 176 F.3d at 365. Defendants’ current and former

employees who may be deposed—individuals who are not parties to the litigation—also have an

                                                   8
 Case: 1:17-md-02804-DAP Doc #: 5838 Filed: 12/31/24 9 of 10. PageID #: 659594




interest in prohibiting the disclosure of sensitive information from their personnel files. Staying

the Personnel Files Order ensures those interests are protected until the Sixth Circuit can determine

whether the Court’s blanket order compelling production of those materials was proper.

II.    AT A MINIMUM, THE COURT SHOULD GRANT AN ADMINISTRATIVE STAY
       TO ALLOW THE SIXTH CIRCUIT TO CONSIDER A STAY.

       If the Court is not inclined to issue a stay pending resolution of Defendants’ forthcoming

mandamus petition, Defendants respectfully request that the court temporarily stay the orders until

the Sixth Circuit has an opportunity to consider a motion for stay under Federal Rule of Appellate

Procedure 8. That limited step would ensure that the Sixth Circuit is afforded sufficient time to

address Defendants’ stay request before the documents are produced on January 7, 2025, in

advance of the depositions scheduled for January 10, 2025.

                                         CONCLUSION

       For the reasons stated herein Defendants respectfully request an expedited stay of the

Court’s Privilege and Personnel File Orders by January 3, 2025.




                                                 9
Case: 1:17-md-02804-DAP Doc #: 5838 Filed: 12/31/24 10 of 10. PageID #: 659595




Dated: December 31, 2024


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                                              10
